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                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                                   CR-19-90-BLG-SPW-1

                          Plaintiff,
                                                           ORDER

           vs.



 MEREDITH McCONNELL,

                          Defendant.



   Upon the Unopposed Motion for Witnesses to Testify by Video at Trial(Doc.

156), and for good cause appearing,

  IT IS HEREBY ORDERED that the United States' motion to allow four


witnesses, if called, to testify by video is GRANTED.

   The United States shall contact Michael Cuthbert at 247-2322 or Cecil Chandler

at 247-2323 to make arrangements for the video connection.

   The Clerk of Court is directed to notify counsel and the IT Division ofthe

making of this Order.

      DATED this // day of January, 2021.

                                 SUSAN P. WATTERS
                                 UNITED STATES DISTRICT JUDGE
